Case 2:23-mj-00063-DUTY Document 1 Filed 01/06/23 Page 1 of 5 Page ID #:1
          Case 2:23-mj-00063-DUTY Document 1 Filed 01/06/23 Page 2 of 5 Page ID #:2
§ 3621(b). Such places “may include a community correctional facility” or “home confinement.” 18 U.S.C.
§ 3624(c)(1), (2). The statute makes clear that even though a prisoner is living at a halfway house or in home
confinement, he is still serving a “term of imprisonment.” Id. Thus, absconding from home confinement
constitutes an “escape” under 18 U.S.C. § 751. See, e.g., United States v. Ko, 739 F.3d 558, 562 (10th Cir.
2014) (holding that defendant was in the BOP’s “custody,” for purposes of federal escape statute, while serving
the remainder of his sentence in home confinement); United States v. Robinson, 639 F. App’x 157, 157 (3d Cir.
2016) (“Appellant . . . was indicted by a federal grand jury for violating 18 U.S.C. § 751(a) by absconding from
his sentence of home confinement.”).

        On July 20, 2022, BOP reclassified BAMDAD from being a full time resident of the Orion RRC to
“Home Detention Status,” and he was allowed to live at his home located at 17806 Ridgeway Road, Granada
Hills, California 91344. He acknowledged and signed “Conditions of Home Detention” in which he
acknowledged that his status was a “privilege which may be revoked by the Residential Re-Entry Manager.”
(See Exhibit A at 1.) He further acknowledged that “any violation of Home Detention Conditions, or conduct
or activity which reflects a disregard for the rights of others, shall be sufficient cause to revoke my Home
Detention and/or terminate my Residential Re-entry Center (RRC) program participation.” (Id.) In addition,
he agreed to “return to the RRC/Probation at least twice [a] week for routine progress reviews and program
participation, and more often if instructed to do so” and to “abide by special instructions given to [him] by the
RRC/Probation.” (Id. ¶¶ 5, 14.) Finally and relevant here, BAMDAD attested to the following: “I fully
understand that willful failure to report as required . . . could constitute an escape from federal custody.” (Id.)

        On December 5, 2022, RRC staff reported that BAMDAD was ordered to return to the Orion RRC by
3:00 p.m., but BAMDAD failed to do so. RRC staff called BAMDAD, and he advised the RRC that he would
not be returning to the facility and told staff to obtain a “warrant” requiring him to report to the RRC.
BAMDAD’s last known whereabouts is his home, located at 17806 Ridgeway Road, Granada Hills, California
91344. To date, he has not reported to the RRC as required and thus has escaped from federal custody.
Case 2:23-mj-00063-DUTY Document 1 Filed 01/06/23 Page 3 of 5 Page ID #:3




                      Exhibit A
Case 2:23-mj-00063-DUTY Document 1 Filed 01/06/23 Page 4 of 5 Page ID #:4
Case 2:23-mj-00063-DUTY Document 1 Filed 01/06/23 Page 5 of 5 Page ID #:5
